Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 1 of 13 Page ID
                                 #:2780


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     ALSTON & BIRD LLP
 2   333 S. Hope Street, 16th Floor
     Los Angeles, CA 90071
 3   Telephone: 213-576-1000
     Facsimile: 213-576-1100
 4   Email:      kim.chemerinsky@alston.com
 5   FRANK E. SHEEDER III (Admitted Pro Hac Vice)
     ALSTON & BIRD LLP
 6   2200 Ross Avenue, Suite 2300
     Dallas, TX 75201
 7   Telephone: 214-922-3400
     Facsimile: 214-922-3899
 8   E-mail:     frank.sheeder@alston.com
 9   Attorneys for Moving Defendants
     STANFORD HEALTH CARE, STANFORD
10   HEALTH CARE ADVANTAGE, THE LELAND STANFORD
     JUNIOR UNIVERSITY (A/K/A THE BOARD OF TRUSTEES
11   OF THE LELAND STANFORD JUNIOR UNIVERSITY),
     DEBRA ZUMWALT, and FREDERICK DIRBAS
12                      UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA

14 UNITED STATES OF AMERICA                    Case No. 2:17-cv-08726-DSF-AFM
                                               Assigned to the Honorable Dale S.
15          and                                Fischer, [Courtroom 7D]

16 THE STATE OF CALIFORNIA                DECLARATION OF FRANK E.
   Ex. Relator Emily Roe., an individual; SHEEDER III IN SUPPORT OF
17                                        SECTIONS VI. AND VII. OF
          Plaintiffs,                     MOVING DEFENDANTS’ REPLY IN
18                                        SUPPORT OF MOTION TO DISMISS
          v.                              AND STRIKE SECOND AMENDED
19                                        COMPLAINT
   STANFORD HEALTHCARE BILLING
20 DEPARTMENT, STANFORD HEALTH [Filed concurrently with Moving
   CARE (FORMERLY KNOWN AS                Defendants’ Reply in Support of Motion
21 STANFORD       HOSPITALS   AND         to Dismiss and Strike Second Amended
   CLINICS), DR. FREDERICK DIRBAS, Complaint]
22 DEBRA ZUMWALT, THE BOARD OF
   DIRECTORS OF THE STANFORD              Hearing
23 HEALTH     CARE,     THE BOARD   OF    Date: July 13, 2020
   DIRECTORS OF THE LUCILE SALTER Time: 1:30 p.m.
24 PACKARD CHILDREN’S HOSPITAL Ctrm: First Street Courthouse
   AT STANFORD, THE LELAND                      Courtroom 7D
25 JUNIOR    UNIVERSITY,     THE  BOARD         350 West 1st Street
   OF TRUSTEES OF STANFORD                      Los Angeles, CA 90012
26 UNIVERSITY,        STANFORD  HEALTH
   CARE ADVANTAGE and DOES 1-10, Second Am. Complaint: March 2, 2020
27 inclusive.
28        Defendants.
                                         -1-
        DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
            SUPPORT OF MOTION TO DISMISS AND STRIKE SECOND AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 2 of 13 Page ID
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 1         I, Frank E. Sheeder III, declare under penalty of perjury as follows:
 2         1.     I am an attorney licensed to practice law in Texas since 1987, admitted
 3   pro hac vice before this Court, and counsel of record in this matter for Defendants
 4   Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”), The
 5   Leland Stanford Junior University (a/k/a The Board of Trustees of the Leland
 6   Stanford Junior University) (the “University”), Debra Zumwalt (“Ms. Zumwalt”),
 7   and Frederick Dirbas (“Dr. Dirbas”) (collectively “Moving Defendants”). I submit
 8   this Declaration in Support of Sections VI. and VII. of Moving Defendants’ Reply in
 9   Support of Motion to Dismiss and Strike Second Amended Complaint. The facts set
10   forth herein are based on my personal knowledge and, if called upon to do so, I would
11   competently testify thereto.
12         2.     On January 18, 2020, Ms. Juarez, who is Relator’s counsel of record in
13   this matter, requested that I provide “courtesy electronic copies” of my client’s
14   “pleading(s) and notices” to date and asked that I “indicate if there is any objection
15   to [my] office accepting ECF service for Relator’s pleadings.” At that time, I was
16   counsel of record for SHC, SHCA, the University, and Ms. Zumwalt.
17         3.     I replied the same day and indicated that “[w]e are fine with having ECF
18   notice of your future filings with the Court.” Ms. Juarez confirmed her understanding
19   that my consent was limited to ECF service “in lieu of mail service.” I confirmed
20   her understanding of my consent. A true and correct copy of these communications
21   is attached as Exhibit A.
22         4.     My consent related to ECF notice of Relator’s filings with the Court as
23   covered by Federal Rule of Civil Procedure 5, was limited to the Defendants I
24   represented at the time and did not reference Dr. Dirbas or service of process, which
25   is covered by Federal Rule of Civil Procedure 4.         Ms. Juarez confirmed her
26   understanding that my acceptance of her future filings would be “in lieu of mail
27   service.”
28
                                               -2-
        DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
            SUPPORT OF MOTION TO DISMISS AND STRIKE SECOND AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 3 of 13 Page ID
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 1         5.     I did not represent Dr. Dirbas when Relator filed the Second Amended
 2   Complaint (“SAC”) on March 2, 2020, and had not been authorized to accept service
 3   of process on his behalf.
 4         6.     On the evening of June 28, 2020, the night before Moving Defendants’
 5   reply in support of their Motion to Dismiss and Strike Second Amended Complaint
 6   was due, Ms. Juarez emailed to me a draft copy of a stipulation she proposed to file
 7   to redact some of the full residential addresses included in her client’s SAC. This
 8   draft was the first document she had proposed to correct her client’s violation of
 9   Local Rule 5.2-1 since I had raised the issue to her nearly four months earlier. The
10   draft stipulation provided by Ms. Juarez does not mention Local Rule 5.2-1, says that
11   one of the residential addresses in the SAC is “public record,” describes the four
12   month delay in drafting the 2-page stipulation as “reasonable,” does not address the
13   same violation in the SAC’s Certificate of Service, and does not include a copy of
14   Ms. Juarez’s referenced declaration in support. A true and correct copy of this
15   communication is attached as Exhibit B.
16
17         I declare under penalty of perjury under the laws of the United States that the
18   foregoing is true and correct. Executed this 29th day of June 2020, in Dallas, Texas.
19
20                                          /s/Frank E. Sheeder III
                                                         Frank E. Sheeder III
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                                               -3-
        DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
            SUPPORT OF MOTION TO DISMISS AND STRIKE SECOND AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 4 of 13 Page ID
                                 #:2783




                               Exhibit A
         Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 5 of 13 Page ID
                                          #:2784



From:                              GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com>
Sent:                              Saturday, January 18, 2020 8:09 PM
To:                                Sheeder, Frank
Cc:                                Smyer, Brad; Chemerinsky, Kim
Subject:                           Re: CV17-08726-DSF(AFMx) Stanford


EXTERNAL SENDER – Proceed with caution



Thank you.

On Sat, Jan 18, 2020 at 5:21 PM Sheeder, Frank <Frank.Sheeder@alston.com> wrote:
 Yes, we are amenable to receiving copies of your future filings through the ECF platform.

 Frank

 On Jan 18, 2020, at 6:34 PM, GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com> wrote:

 EXTERNAL SENDER – Proceed with caution
 ________________________________


 Counsel,
 Thank you for the courtesy copies. We understood that your office is accepting ECF service of our pleadings in lieu of
 mail service.
 If we misunderstood that email today, please let us know.


 On Sat, Jan 18, 2020 at 3:12 PM Smyer, Brad <Brad.Smyer@alston.com<mailto:Brad.Smyer@alston.com>> wrote:
 Counsel,

 Attached please find courtesy copies of the documents filed and served on January 7, 2020.

 Thanks,

 ALSTON & BIRD

 From: Sheeder, Frank
 Sent: Saturday, January 18, 2020 4:48 PM
 To: GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com<mailto:gloria@thegjlaw.com>>
 Cc: Chemerinsky, Kim <Kim.Chemerinsky@alston.com<mailto:Kim.Chemerinsky@alston.com>>; Smyer, Brad
 <Brad.Smyer@alston.com<mailto:Brad.Smyer@alston.com>>
 Subject: Re: CV17-08726-DSF(AFMx) Stanford

 Gloria,

 We will send you courtesy copies of our filings to date by email. Note that they are all currently available on the ECF
 platform, if that is helpful to you.
                                                             1

                                                                                                                  4
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We are fine with having ECF notice of your future filings with the Court.

Frank


On Jan 18, 2020, at 4:13 PM, GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com<mailto:gloria@thegjlaw.com>> wrote:
EXTERNAL SENDER – Proceed with caution
________________________________

Counsel,
Your office apparently attempted to serve our office but due to a UPS procedural error, the package was returned to
your office. In light of this and the imminent deadline to file our response briefs, would you be able to send courtesy
electronic copies of all your pleading(s) and notices as filed with the court? Please also indicate if there is any objection
to your office accepting ECF service for Relator's pleadings.
Thank you in advance for your anticipated cooperation.


--

GJ

Gloria Juarez

LAW OFFICES OF GLORIA JUAREZ


ORANGE COUNTY OFFICE

26081 Merit Circle , Suite 112

Laguna Hills, CA 92653

Tel. 213-598-4439

Facsimile 714-919-0254




________________________________
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read, copy, distribute or otherwise use this message or its attachments. If you have received this message in error,
please notify the sender by email and delete all copies of the message immediately.


--

GJ

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                                        #:2786

 Gloria Juarez

 LAW OFFICES OF GLORIA JUAREZ

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 26081 Merit Circle , Suite 112

 Laguna Hills, CA 92653

 Tel. 213-598-4439

 Facsimile 714-919-0254




--


                                               GJ
                                           Gloria Juarez
                                  LAW OFFICES OF GLORIA JUAREZ

                                      ORANGE COUNTY OFFICE
                                    26081 Merit Circle , Suite 112
                                       Laguna Hills, CA 92653
                                         Tel. 213-598-4439
                                       Facsimile 714-919-0254




                                                  3

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                                 #:2787




                                Exhibit B
       Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 9 of 13 Page ID
                                        #:2788




From: "GLORIA JUAREZ, ESQ. LAW" <gloria@thegjlaw.com>
Date: June 28, 2020 at 6:27:45 PM CDT
To: "Sheeder, Frank" <Frank.Sheeder@alston.com>
Subject: Draft Stipulation re SAC: STANFORD

EXTERNAL SENDER – Proceed with caution




Hi Frank,
I hope you had a good weekend.
Please find the draft Stipulation for filing a redacted SAC as your clients requested.
If acceptable, please sign and return to me for filing.
Thanks

--


                                                       GJ
                                              Gloria Juarez
                                     LAW OFFICES OF GLORIA JUAREZ

                                             ORANGE COUNTY OFFICE
                                           26081 Merit Circle , Suite 112
                                              Laguna Hills, CA 92653
                                                Tel. 213-598-4439




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                                                                                         7
     Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 10 of 13 Page ID
                                      #:2789



1     Gloria M. Juarez, California State Bar No. 109115
      LAW OFFICES OF GLORIA JUAREZ
2     26081 Merit Circle, Suite 112
3     Laguna Hills, CA 92653
      Tel: 213-598-4439
4     Fax: 714-919-0254
5     Email: gloria@thegjlaw.com
             tootsieglo@sbcglobal.net
6     ATTORNEYS FOR RELATOR EMILY ROE
7
8                              UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                   WESTERN DIVISION

11    UNITED STATES OF AMERICA ex                   No. CV 17-08726 DSF (AFMx)
      rel. EMILY ROE,                               Judge: The Hon. Dale Fischer
12
                 Plaintiff,                         STIPULATION AND REQUEST TO
13                                                  SEAL ECF NO. 55, AND REFILE A
                        v.
14                                                  REDACTED COPY OF THE SECOND
      STANFORD HEALTHCARE BILLING
      OFFICE, et al.,                               AMENDED COMPLAINT (“SAC”) AS
15
                                                    TO     DEFENDANTS'        STREET
16               Defendants.
                                                    ADDRESSES IN ¶¶ 18-19 OF THE SAC
17
18                                                  [Lodged concurrently with the Declaration
19                                                  of Gloria Juarez and [Proposed] Order]

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28         STIPULATION AND REQUEST TO SEAL ECF NO. 55, AND REFILE A
              REDACTED COPY OF THE SECOND AMENDED COMPLAINT
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     Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 11 of 13 Page ID
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1           IT IS HEREBY STIPULATED AND AGREED by and between the qui tam
2     relator Emily Roe (“Relator”), and Defendants Stanford Health Care, Stanford Health
3     Care Advantage, The Leland Stanford Junior University (a/k/a The Board of Trustees of
4     the Leland Stanford Junior University), Debra Zumwalt, and Frederick Dirbas
5     (collectively, “Defendants”) (collectively, with the Relator, the “Parties”) through their
6     respective attorneys of record and subject to the approval of the Court, that ECF No. 55
7     will be sealed, and a redacted copy of the pleading (Second Amended Complaint
8     (“SAC”)) just as to the street addresses in ¶¶18-19 be filed. The Parties’ Stipulation is
9     made pursuant to the following good cause and basis:
10
11          1. WHEREAS on March 2, 2020 Relator filed the Second Amended Complaint
12              (“SAC”) pursuant to 31 U.S.C § 3279, a civil complaint for false claims action.
13              (ECF No. 55);
14          2. WHEREAS on or about March 10, 2020 Defendants contended that the
15              addresses of the two Defendants listed in ¶¶18 and 19 of the SAC were
16              considered by those Defendants “personal or sensitive information” and should
17              not be in the SAC, thereby objecting to the party addresses in the SAC;
18          3. WHEREAS, Relator disagrees with Defendants’ contentions that the SAC has
19              sensitive information, and asserts that the addresses in ¶¶18-19 are of public
20              record as listed in online yellow page business directories for Defendants
21              including Dr. Fred Dirbas doing business as “Software for Surgeons”;
22          4. WHEREAS, on March 13, 2020 Relator in a spirit of good faith and
23              compromise agreed to have Defendants file a prepared stipulation sealing the
24              original SAC and filing a redaction of the address in ¶¶18-19, and Defendants
25              so declined;
26          5. WHEREAS the national COVID-19 crisis and pandemic caused a lockdown
27
28                                                 1
            STIPULATION AND REQUEST TO SEAL ECF NO. 55, AND REFILE A
               REDACTED COPY OF THE SECOND AMENDED COMPLAINT 9
     Case 2:17-cv-08726-DSF-AFM Document 76-1 Filed 06/29/20 Page 12 of 13 Page ID
                                      #:2791



1             and cease of many non-essential operations and businesses in California from
2             on or about March 18, 2020 to at least May 18, 2020, hence there was a
3             reasonable lapse in time with the requisite further meet and confer efforts of
4             the Parties for the Stipulation;
5          6. WHEREAS, the Parties now wish to resolve any potential issue about
6             Defendants’ “sensitive information” in the SAC and narrow the issues before
7             the Court without taking a position on the Parties’ respective contentions; and
8          7. The Stipulating Parties agree that, under the circumstances described above, the
9             interests of judicial efficiency would be best served if the Court would accept
10            the Parties' herewith Stipulation, and allow the parties to seal ECF No. 55, and
11            to re-file a SAC, redacted only as to the street addresses in ¶¶18-19.
12
13
14                                      Respectfully submitted,
15                                         /s/GJuarez
16     Dated: June 28, 2020
                                         GLORIA M. JUAREZ
17                                       LAW OFFICES OF GLORIA JUAREZ
                                         Attorneys for Relator
18
19
20     Dated: June 28, 2020
21                                       FRANK SHEEDER
                                         Attorneys for Defendants
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                                                                                       10
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                                 #:2792


  1                           CERTIFICATE OF SERVICE
  2         I hereby certify that on June 29, 2020, I caused a copy of the
  3   DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF SECTIONS
  4   VI. AND VII. OF MOVING DEFENDANTS’ REPLY IN SUPPORT OF
  5   MOTION TO DISMISS AND STRIKE SECOND AMENDED COMPLAINT
  6   to be served upon the following counsel and parties in interest via the Court’s
  7   CM/ECF system:
  8
            Gloria Juarez, Esq.                     Frank D. Kortum
  9         Law Offices of Gloria Juarez            Assistant United States Attorney
            26081 Merit Circle, Suite 112           Room 7516, Federal Building
 10         Laguna Hills, California 92653          300 N. Los Angeles St.
                                                    Los Angeles, CA 90012
 11
            Counsel for Relator                     Counsel for the United States of
 12                                                 America

 13
 14   /s/ Frank E. Sheeder III
      Counsel for Moving Defendants
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 16
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                                             -11-
         DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
             SUPPORT OF MOTION TO DISMISS AND STRIKE SECOND AMENDED COMPLAINT
